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                          UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


United States of America,                      Case No. 21-cr-173 (PJS/DTS)

             Plaintiff,

v.                                             ORDER

Gisela Castro Medina (2),

             Defendant.


      The government filed a Motion for Discovery [Dkt. No. 55]. Defendant Medina has

not filed pretrial motions [Dkt. No. 118] or a response to the government’s motion. The

Parties have informed the Court a motion hearing is unnecessary. The Court, being duly

advised in the premises, upon all the files, records, and proceedings herein, now makes

and enters the following Order.

      IT IS HEREBY ORDERED: The United States’ Motion for Discovery [Dkt. No. 12]

is GRANTED. Defendant Medina shall comply with Rules 16(b), 12.1, 12.2, 12.3, and

26.2 of the Federal Rules of Criminal Procedure.




Dated: February 14, 2022                             ___s/David T. Schultz______
                                                     DAVID T. SCHULTZ
                                                     U.S. Magistrate Judge
